                                            EXHIBIT C



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


____________________________________
CINCLIPS, LLC,                          )
   a Georgia Limited Liability Company  )
                                        )
Plaintiff,                              )
                                        )             Civil Action No. 8:16-cv-01067-SDM0JSS
v.                                      )
                                        )
Z KEEPERS, LLC,                         )
   a Florida Limited Liability Company, )
                                        )
Defendant.                              )
____________________________________)

                                PLAINTIFF’S WITNESS LIST

       Plaintiff, through its undersigned counsel, serves the following disclosure of witnesses
expected to be called at trial based upon the information reasonably available to Plaintiff at this
time.

       1. Dow Blaine
          c/o Woodrow H Pollack, Esquire
          Greenberg Traurig, LLP
          101 E Kennedy Blvd, Suite 1900
          Tampa, FL 33609

       2. Barbara VanNostrand
          c/o Woodrow H Pollack, Esquire
          Greenberg Traurig, LLP
          101 E Kennedy Blvd, Suite 1900
          Tampa, FL 33609

       3. Howard Flaxman, Esquire
          c/o Woodrow H. Pollack, Esquire
          Greenberg Traurig, LLP
          101 E Kennedy Blvd, Suite 1900
          Tampa, FL 33602

       4. David Smith
          c/o Chuck Geitner, Esquire
          Hinshaw Culbertson, LLP
                                           EXHIBIT C



           100 S Ashley Drive, Suite 500
           Tampa, FL 33602


       5. All Defendant’s Witnesses listed on Exhibit D.

       6. Any rebuttal or impeachment witnesses.

       *Plaintiff reserves the right to amend this list in the event new witnesses are revealed

pursuant to discovery requests, or pursuant to additional investigation by Plaintiff. Plaintiff

further reserves the right to move for leave to list additional witnesses at a later time upon

reasonable notice to other parties.
